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United States District Court

NORTHERN DISTRICT OF` TEXAS
DALLAS DIVISION

DIONr KIPP,
Plaintiff,

V. CASE NO. 31 l7-CV-67-S

CAPTAIN CHUCK LAUBACH, DEPUTY
MIKE CATI~IER, and ELLIS COUNTY, TEXAS,
Defendants.

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MEM()RANDUM ()PINION AND ORDER

This Order addresses Defendants Captain Chuck Laubach and Deputy l\/lil<e Cather’s
Amended Motion for Sumrnary Judgment [ECF No. 881 For the reasons set forth beiow, the Court
grants in part and denies in part the l\/lotion.

I. BACKGROUND

Per Special Order 3-3l8, this case Was transferred from the docket of Judge David C.
Godbey to the docket of this Court on Marcb 8, 2018.

This is a civil rights action for declaratory relief and damages arising under the Fourth and
Fourteenth Arnendrnents to the United States Constitution. Second Am. Compl. il l. Plaintift`
Dion Kipp (“Plaintifl") alleges that he was illegally seized, handcuffed, and taken to mental
hospitals three times by officers of the Eliis County Sheriff’ s Oi`tice. Id. Pnrsuant to Texas Health
and Sat`ety Code § 573.001,

A peace officer, Without a Warrant, may take a person into custody if the ofticer: (l) has

reason to believe and does believe that: (A) the person is a person With mental illness; and

(B) because of that mental illness there is a substantial risk of serious harm to the person

or to others unless the person is immediately restrained; and (2) believes that there is not
sufficient time to obtain a Warrant before taking the person into custody

 

 

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TEX. HEAL.TH & SAFETY CODE ANN. § 573.001(a). This process is referred to as an Apprehension
by a Peace Officer Without Warrant (“APOWW”). Plaintiff alleges that in each APOWW, the
officers did not have evidence supporting a reasonable belief (l) that there Was a substantial risk
of serious harm to Piaintiff or others unless he Was immediately restrained, or (2) that there Was
not sufficient time to obtain a Warrant before taking Plaintiff into custody. Second Am. Compi. il
l. According to Plaintiff, the three APOWWS “Were made[,} at least in part{,] in retaliation
because the officers of Eliis County Sheriff’ s Office Were angry that [Plaintiff] had reported their
actions to the Texas Rangers and the FBl_not because of any conduct of [Plaintiff_| threatening
harm to himself or anyone else.” Id. il 180.

Plaintiff and his Wife, Paula Kipp (collectively, “Plaintiffs”), initiated this lawsuit on
January 8, 2017. Since then, Plaintiffs amended their complaint twice. On June 23, 2017,
Plaintiffs filed the Second Amended Coniplaint. Plaintiffs filed a Voluntary Disinissal by
Stipulation on February 7, 2018, dismissing (l) all of Paula Kipp’s claims and causes of action,
and (2) all of Plaintiff’s claims and causes of action against Defendant Deputy Christopher`
Hiliiard. The parties remaining in this case are Piaintiff and Defendants Laubach, Cather, and Ellis
County.

II. LEGAL STANDARD
A. Summary Judgmen.t Standard

Courts “shall grant summary judgment if the movant shows that there is no genuine dispute
as to any material fact and the movant is entitled to judgment as a matter of law.” FED. R. CIV. P.
56(a); Ander-'son v. Liberiy Lobby, Inc., 477 U.S. 242, 247 (1986). ln making this determination,
courts must view all evidence and draw ali reasonable inferences in the light most favorable to the

party opposing the motionl United States v. Diebold, Inc., 369 U.S. 654, 655 (l962). The moving

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party bears the initial burden of informing the court of the basis for its belief that there is no genuine
issue for trial. Celorex Corp. v. Cafretf, 477 U.S. 3l7, 323 (1986).

When a party bears the burden of proof on an issue, she “must establish beyond
peradventure all of the essential elements of the claim or defense to warrant judgment in [her]
favor.” Fontenor v. Upjohn Co., 780 F.2d 1190, l 194 (5th Cir. l986). When the nonmovant bears
the burden of proof, the movant may demonstrate entitlement to summary judgment either by (l)
submitting evidence that negates the existence of an essential element of the nonmovant”s claim
or affirmative defense, or (2) arguing that there is no evidence to support an essential element of
the nonmovant’s claim or affirmative defense Celorex, 477 U.S. at 322-25. Once the movant has
made this showing, the burden shifts to the nonmovant to establish that there is a genuine issue of
material fact so that a reasonable jury might return a verdict in its favor. Mmsushim Efec. lndzrs.
CO. v. Zenith Radz`o Co)"p., 475 U.S. 574, 586-87 (1986). Moreover, “[c]onclusory allegations,
speculation, and unsubstantiated assertions” will not suffice to satisfy the nonmovant°s burdenl
Douglass v. United Servs. Auro. Ass’n, 79 F.3d l4l5, 1429 (Sth Cir. 1996) (en banc). Factual
controversies are resolved in favor of the nonmoving party “only when an actual controversy
exists, that is, when both parties have submitted evidence of contradictory facts.” Olabz`siomotosho
v. City of Hous., 185 F.3d 521, 525 (5th Cir. 1999) (quoting McCallum Highlands, Ltd. v.
Wash:`ngfon Cc.rpifal Dus, [nci, 66 F.3d 89, 92 (Sth Cir. 1995)).

B. Qualified Immuuity

Quaiified immunity “protects government officials ‘from liability for civil damages insofar
as their conduct does not violate clearly established statutory or constitutional rights of which a
reasonable person would have known.”’ Peczrson v. Callahcm, 555 U.S. 223, 23l (2009) (quoting

Hcrrfow v. Fz'tzgemld, 457 U.S. 800, 818 (1982)). The doctrine of qualify immunity balances two

 

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interests: “the need to hold public officials accountable when they exercise power irresponsibly
and the need to shield officials from harassment, distraction, and liability when they perform their
duties reasonably.” Id. Qualified immunity shields “all but the plainly incompetent or those who
knowingly violate the law.” Malfey v. Briggs, 475 U.S. 335, 34l (l986).

ln assessing a defendant’s assertion of qualified immunity on summary judgment,
reviewing courts determine whether the alleged facts, viewed in the light most favorable to the
plaintiff, are sufficient to show that: (l) the defendant violated the plaintiffs constitutional rights,
and (2) the constitutional right was clearly established, such that “it would be clear to a reasonable
officer that his conduct Was unlawful in the situation he confronted.” Pearson, 555 U.S. at 201~
02. rfha “inquiry into reasonableness” asks only if any reasonable officer could have reached the
same conclusion Zarnow v. Cz.`iy of Wichita Falls, 500 F.3d 40l, 408 (5th Cir. 2007) (citing
Malley, 475 U.S. at 341). “lf reasonable public officials could differ as to whether the defendant’s
actions were lawful, the defendants are entitled to immunity.” Id. at 407~08. Lower courts are
“perniitted to exercise their sound discretion in deciding which of the two prongs of the qualified
immunity analysis should be addressed first in light of the circumstances in the particular case at
hand.” Pea.rson, 555 U.S. at 236.

Once a defendant raises the defense of qualified immunity, the plaintiff bears the burden
to demonstrate that it does not apply. Club Retro, L.L.C. v. Hill'on, 568 F.3d l81, 194 (5th Cir.
2009);McClend01/rv. Cr.'ly ofColtrmbia, 305 F.3d 3 l4, 323 (Sth Cir. 2002). A plaintif “must rebut
the defense by establishing a genuine fact issue as to whether the official’s allegedly wrongful
conduct violated clearly established law.°’ Winj?"ey v. Pz'ckett, 872 F.3d 640, 644 (5th Cir. 2017)
(quoting Brown v. Callahan, 623 F.3d 249, 253 (5th Cir. 2010)). All inferences are drawn in the

plaintiffs favor. Id.

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III. ANALYSIS
A. Fourteenth Amendment Claims

The Court finds that Defendants are entitled to summary judgment as to Plaintifi" s
Fourteenth Amendment Claims. Plaintiff alleges that Defendant Laubach and Defendant Cather
violated his constitutional rights under the Fourth and Fourteenth Amendments when they seized
him pursuant to an APOWW on three separate occasions Under the Fourth Arnendment, an
individual is protected from unreasonable seizures, including seizures for the purpose of temporary
commitment in a mental health facility. See Marrfnez v. sz`th, No. 99-40285, 1999 WL 1095667,
at "‘l (5th Cir. Nov. 4, 1999) (“Although we have not addressed the matter in a published opinion,
other courts have held that individuals have a Fourth Amendment right to be free from detention
for psychological evaluation unless there is probable cause to believe that the person may harm
herself or others.”).

“Where a particular Amendment ‘provides an explicit textual source of constitutional
protection’ against a particular sort of government behavior, ‘that Amendment, not the more
generalized notion of “substantive due process,” must be the guide for analyzing these claims.”’
Albrighr v. Olfver, 510 U.S. 266, 273 (l994) (quoting Graham v. Comror, 490 U.S. 386, 395
(1989)). Because the Fourth Amendment specifically protects an individual from a seizure without
probable cause, Plaintiff cannot also seek redress under the Fourteenth Amendment. See, e.g.,
Boscrge v. Mr'ss. Bw-‘eau ofNarcottcs, 796 F.3d 435, 44l~42 (5th Cir. 20l5) (holding that plaintiffs
claims of unlawful arrest and detention should be analyzed under the Fourth Amendment, not the
Fourteenth Amendment).

The Court notes that Plaintiff failed to respond to Defendants’ arguments regarding his

Fourteenth Amendment claims in his briefing T he Court takes Plaintiff’ s lack of response as a

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tacit acknowledgment that he has no binding precedent supporting his allegations of a Fourteenth
Amendment violation

Because Plaintiff`s unreasonable seizure claim should be brought under the Fourth
Amendment, and because Plaintiff has abandoned this claim in his briefing, the Court grants
Defendants’ Motion for Summary Judgment as to Plaintiff`s Fourteenth Amendment claims.

B. Fourtlz Amemlment Claims

The Fourth Arnendment protects an individual from an unreasonable search and seizure
U.S. CONST. amend lV. A seizure that triggers the protections of the Fourth Amendment occurs
when government actors have, “by means of physical force or show of authority . . . in some way
restrained the liberty of a citizen.” Terry v. th'o, 392 U.S. 1, 19 n.l6 (l968). This includes
seizures for the purpose of temporary commitment in a mental health facility See Martz`nez, 1999
WL 1095667, at *1 (“lndividuals have a Fourth Amendment right to be free from detention for
psychological evaluation.”). The Fourth Amendment permits a seizure, however, if it is supported
by probable cause. Unitaa’ Smtes v. Place, 462 U.S. 696, 700-01 (1983).

in Texas, a police officer may, without a warrant, take a person into custody if (l) the
officer has reason to believe and does believe that a person is mentally ill, and because of that
illness there is a substantial risk of serious harm to the person or to others unless the person is
immediately restrained; and (2) believes that there is not sufficient time to obtain a warrant before
taking the person into custody. 'l`Ex. HEALTH & SAFE'TY CODE`l § 573.001(a). The Fifth Circuit has
held that in the context of this emergency detention statute, “Probable cause exists where the facts
and circumstances Within the officer’s knowledge at the time of the seizure are sufficient for a
reasonable person to conclude that an individual is mentally ill and poses a substantial risk of

serious harm.” Canrrell v. Cz'ly owaphy, 666 F.3d 91l, 923 (5th Cir. 2012). The Fifth Circuit

 

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has also noted that the existence of Texas Health & Safety Code § 573.00l(a) provides further
support for a finding that police officers act with probable cause when they arrest an individual for
temporary detention in a mental health facility Sae Martinez, l999 WL 1095667, at *3 (noting
that “the Texas statute buttresses the officers’ argument that they acted within their clear
authority”).

The Court applies a two-step analysis to determine whether a defendant is entitled to
summary judgment on the basis of qualified immunity Cantrell, 666 F.3d at 922. “First, we
determine whether, viewing the summary judgment evidence in the light most favorable to the
plaintiff, the defendant violated the plaintiffs constitutional rights.” Id. (quoting Freeman v. Gora,
483 F.3d 404, 4l0 (5th Cir. 2007)). “lf so, we next consider whether the defendant’s actions were
objectively unreasonable in light of clearly established law at the time of the conduct in question.”
Id. (quoting Freeman, 483 F.3d at 411). “To make this determination, the court applies an
objective standard based on the viewpoint of a reasonable official in light of the information then
available to the defendant and the law that was clearly established at the time of the defendant’s
actions.” Id.

(1) Claims against Defendant Cather

On March 28, 2015, Plaintiff was taken into custody at his place of employment and
transported to Hickory Trails Hospital pursuant to an APOWW. Second Ani. Cornpl. jill 88, 93;
Defs.’ Br. 14. The parties dispute the events leading up to the APOWW. Plaintiff alleges that
while he was Working, “three armed deputies of the Ellis County Sheriff’ s Office broke down the
door to the plant and informed supervisor lohn Sartin that they were there for [Plaintiff].” ld. il
70. Plaintiff states that he went outside to meet the deputies, who asked him if he had any weapons

Id. il 75. According to Plaintiff, Defendant Cather arrived ten minutes later, and told Plaintiff “that

 

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he had been on the phone with the FBl for over an hour and they told him that [Plaintiff] had a
trunk load full of guns~»~»shotguns, rifles, and pistols"-~and he was coming to shoot the sheriff s
department up.” Id. 11 76. Plaintiff alleges that he told Defendant Cather that he did not own any
guns and that he did not feel like he would harm himself or anyone else. Id. 1[1[ 77-80. Plaintiff
claims that Defendant Cather “then told [Plaintiff] that he was going to APOWW” him. Id. il 83.
According to Defendants, Sergeant Adam Sowder made the decision to seize Plaintiff
“based on credible information received by Sgt. Sowder from Gregory Barnes with the FBI.”
Defs.’ Br. 14. Defendants allege that Plaintiff called the FBl’s Dallas Field Office twice that day
and “stated that he had purchased a [shotgun] and was going hunting for Bllis County Sheriff
Deputies.” Id. Plaintiff concedes that he did call the FBI on more than one occasion to complain
about the Ellis County Sheriff’s Office deputies, but denies that he ever told the FBI that he was
going to buy a gun and kill Ellis County Sheriff` s Office deputies Second Am. Compl. 11 95.
Plaintiff alleges that Defendant Cather did not have probable cause to seize him. Id. ll
176(b). However, Defendants have produced summaryjudgment evidence establishing that it was
Sowder, not Defendant Cather, who made the decision to seize Plaintiff pursuant to an APOWW.
Defs.’ Br. 14; see also Defs.’ App. 011-12 [Decl. of Mike Cather] (“l did not make the decision to
APOWW [Plaintiff]. l had no interactions with [Plaintiff`]. l\/ly only involvement was transporting
him to the mental hospital.”); id. at 03 8-44 [Decl. of Adam C. Sowder, lll] (“While l was talking
to lPlaintiff|, [Defendant] Cather arrived. l told [Defendant] Cather that [Plaintiff] was being
APOWW’ed and to transport him to Hickory Trails Hospital.”). Plaintiff has not offered any
evidence in rebuttal. Plaintiff merely argues in a conclusory manner, “[Defendantj Cather clearly
personally participated in the seizure of [Plaintiff] by performing police functions integral to the

seizure without a warrant and has liability.” Pl.’s Br. 30.

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Even if Defendant Cather had any role in the decision to take Plaintiff into custody pursuant
to an APOWW, the Court finds that probable cause existed ln the context of an APOWW,
“probable cause exists where the facts and circumstances within the officer’s knowledge at the
time of the seizure are sufficient for a reasonable person to conclude that an individual is mentally
ill and poses a substantial risk of serious harm.” Cantrell, 666 F.3d at 923. A list of complaints
taken by the FBI from Plaintiff documents a “[t]hreat to law enforcement” made on l\/larch 28,
2015. According to the FBI record, Plaintiff “called the Dallas Field Office stating that Ellis
County Sheriff Department was ringing his ears and he was going to purchase a shot gun and go
out hunting [sicj.” Defs.’ App. 051. “At 6:00pm, [Plaintiff] called back and stated he have lsic]
his shot gun and he was going out hunting for Ellis County Sheriff Deputies [sic].” ld. After
speaking with Plaintiff, Sowder made the decision that Plaintiff needed to go to l-lickory Trails
l-lospital to be assessed by mental health professionals ld. at 038. Although Plaintiff denies that
he ever made threats against the Ellis County Sheriff’S Office to the FBl, Plaintiff does not provide
any summary judgment evidence to create a genuine issue of material fact, The Court finds that
assuming arguendo that Defendant Cather had any role in the decision to seize Plaintiff pursuant
to an APOWW on l\/larch 28, 2015, the facts and circumstances within his knowledge at the time
of the seizure were sufficient for a reasonable person to conclude that Plaintiff was mentally ill
and posed a substantial risk of serious harm. Because probable cause existed, the APOWW on
March 25, 2018, did not violate Plaintiff”s Fourth Arnendment rights

The Court finds that Defendant Cather is entitled to summary judgment as to Plaintiff’s
claims regarding the second APOWW. Plaintiff has not offered any evidence to create a genuine
dispute of material fact that it was Defendant Cather, and not Sowder, who authorized the

APOWW of Plaintiff on March 28, 2015. Because it was Sowder, and not Defendant Cather, who

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made the decision to take Plaintiff into custody pursuant to an APOWW, Defendant Cather did
not violate Plaintiff’s Fourth Amendment rights Even assuming arguendo that Defendant Cather
did have a role in the decision, the Court finds that probable cause existed to seize Plaintiff pursuant
to an APOWW. Thus, the Court grants Defendants’ l\/lotion for Summary Judgment as to
Plaintiff’s claims against Defendant Cather.

(2) Clnz`ms against Defendant Laubach

Defendant Laubach made the decisions to take Plaintiff into custody pursuant to an
APOWW on January 9, 20l5, and July 28, 2015. Plaintiff alleges that Defendant Laubach did not
have probable cause to seize him without a warrant under 'l`exas l~lealth & Safety Code § 573.001
in either instance Second Am. Compl. jill 176(a), (c).

The parties in this case present materially conflicting versions of the events surrounding
Plaintiff’s seizure by APOWW on January 9, 2015. The only facts not in dispute are that Plaintiff
and his son came to the Ellis County Sher‘ifF s Office to pick up a copy of a police report, and that
Defendant Laubach detained Plaintiff pursuant to an APOWW and had him transported to Hicl<ory
Trail Hospital. Second Am. Compl. jill 36, 48, 52, 56‘, Defs.’ Br. l6.

According to Plaintiff, Defendant Laubach approached him and asked him, “How are you
today? Are you still going to call the Texas Rangers to be involved with Ellis County Shei‘iff s
Office?” Second Arn. Compl. ll 38. Plaintiff alleges that when he responded, “Yes, l am,”
Defendant Laubach told him, “.lust get your butt over to the window and get your report.” Id. ‘W
39-40. Plaintiff maintains that Defendant Laubach “lajppear[ed] angrier by the second” and “then
told [Plaintiffj that he would arrest him right then.” Id. 1{ 4l. According to Plaintiff, Defendant

Laubach handcuffed and searched him, before “announc[ing] that he was going to ‘APOWW’

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{Plaintiff].” Id. 1111 48, 52. Plaintiff alleges that another deputy then transported him to Hickory
Tr‘ail ilospital, and the doctors at the hospital later released him. Id. lift 56, 61.

Defendant Laubach offers a different account of the events leading to Plaintiff’ s APOWW.
According to Defendant Laubach, Plaintiff became agitated with the employee sitting behind the
lobby window at the Sheriff’ s Office and began to raise his voice. Defs’ Br. l6. Defendant
Laubach alleges that Plaintiff “quickly became extremely worked up and acted irrational.” Id.
Defendant Laubach claims, “lt was clear to [him] and any one lsic] working at the Sheriff’s
Depaitment who interacted with [Plaintiff] that he was paranoid and suffering from some form of
mental illness.” Id. Defendant Laubach states that he has known Plaintiff for more than 15 years
]d. at 15. According to Defendant Laubach, he was aware of Plaintiff “call[ing] the Ellis County
Sheriff’s Department countless times, complaining that Sheriff Deputies were following him,
harassing him, breaking into his house and messing with his belongings placing bugs in his car
and ears, and were controlling him through ‘remote neutral monitoring.”’ Id. Defendant Laubach
also states that he “knew of [Plaintiff]’s history of paranoia with the Sheriff"s Depaitment” and
that “lPlaintiff] had just previously told [him] that he believed the Department was using ‘remote
neutral monitoring’ to control him and that it was causing suicidal thoughts.” [d. at l6. Based on
this history and his observations of Plaintiff, Defendant Laubach claims that he “decided to
APOWW [Plaintiff] and take him to a mental hospital to be evaluated by medical professionals.”
Id.

According to Plaintiff, he never told Defendant Laubach that he was going to commit
suicide. Second Am. Compl. jj 63. Plaintiff also maintains that he never told Defendant Laubach
about his previous mental health history. Pl.’s Br. lO. Plaintiff does acknowledge that he made

multiple telephone calls to the Sheriff’s Office, “but he never made any threats of harm to himself

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or anyone else. The only threats {hej made were that he threatened to sue the Sheriff" s office.” Id.
Furthermore, Plaintiff claims that on Febi'uary 16, 2016, he received a letter from Defendant
Laubach confirming that his calls to the Sheriff"s Office were “not a threat defined by the Texas
Penal Code,” but “any future calls of this nature will be considered harassment.” Id.', Pl.’s App.
Ex. D.

The parties also offer materially conflicting accounts of the events leading up to the
decision by Defendant Laubach to take Plaintiff into custody pursuant to an APOWW on .luly 28,
2015. On July 27, 2015, Paula Kipp submitted a sworn Application for Court-Ordered Mental
l{ealth Services for her husband. Defs.’ Br. l7 (citing Defs.’ App. 025). ln support of the Mental
Health Services Application, Paula Kipp also submitted a form titled “lnformation to be
Determined on Taking Application for Court-Ordered l\/lental Health Services & Motion for an
OPC”. Id. (citing Defs.’ App. 026-27). On the information form under “Current Acts, harmful to
self or others, leading to this application,” Paula Kipp wrote,

Because of hearing voices and was confused he gave me the wrong dose of lnsulin.

He told me this himself He says Remote Neutral Monitoring is used on him by the

Shei‘iffs Office and he calls the dispatchers all the time multiple times each day

telling them to stop.

Defs.’ App. 027 (all errors in original).

Paula Kipp also submitted an Application to Magistrate for Emergency Detention. Defs.’
Br. 17. (citing Defs.’ App. 028~29). ln her sworn application, Paula Kipp repeated her statements
regarding Plaintiff hearing voices and giving her the wrong dose of insulin. See Defs.’ App. 028.
Paula Kipp submitted voluntary statements from her parents, Paul and Marcella l\/lartin, in support
of her application Defs.’ Br. 17 (citing Defs.’ App. 028-32). ln his voluntary statement, Paul

Martin stated that Plaintiff had been harassing the people that worked for him, and that he was

“concerned for the safety of myself and my family ~ especially my daughter.” Defs.’ App. 030.

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ln her voluntary statement, Marcella Martin stated, “For years [Plaintiffj has been unstable saying
he hears voices,” and expressed her concern that Piaintiff may have been giving Paula Kipp
something that gives her “sudden onset nausea that causes her to have to go to the hospital for
relief.” Id. at 03l.

According to Defendant Laubach, later that same day, the Ellis County Victim Assistance
Coordinator called and told him that Paula Kipp had filed the applicationsl Defs.’ Br. l8 (citing
Defs.’ App. 009 [Decl. of Charies Laubach]). Defendant Laubach claims that the Victim
Assistance Coordinator also told him “that the Magistrate denied a hearing on the [a]pplications
because law enforcement could simply APOWW [Plaintift] instead.” Id. On July 28, 2015,
Defendant Laubach alleges that he went to the Magistrate ludge for clarification Id. The
Magistrate Judge allegedly told Defendant Laubach that he had the authority to initiate an
APOWW “if [Defendant Laubach] believed that [Plaintiff] was a danger to himself or others.” Id.
Defendant Laubach then went to Plaintif`t` s place of employment to take Piaintiff into custody. Ia’.
Defendant Laubach claims that Plaintift`s manager told him that he too had concerns with Plaintiff.
Id. Plaintift` was seized by an APOWW and taken to Green Oal<s Hospital for evaluation Id. at
l9.

Although she submitted sworn applications, Paula Kipp now states that Defendant Laubach
“vvas involved, instructed her and her parents, land} engineered the document preparation.” Pl.’s
Br. 33 (citing Pl.’s App. Ex. B). Paula Kipp claims, “[U]nder threat and duress from [Det`endant]
Laubach, she filled out all the papers for the lawsuit and that the papers were provided to her at
[Defendant] Laubach’s instance.” Id. Aceording to Paula Kipp, “{S]he never would have filled
out the papers if [Defendant} Laubach had not threatened to arrest her husband for attempted

murder.” Id. at 33-34. Finally, Paula Kipp claims that she did not know that the Application for

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Court-Ordered Mental Health Services and Application to Magistrate for Emergency Detention
were even filed with the court until after this case was initiated in federal court in 2017. Id.

Plaintiff also points to a recorded call between Paula Kipp and Defendant Laubach on luly
25, 2015. Pl.’s Br. 34 (citing Pl.’s App. Ex. H.) According to Plaintiff, in the call, “[Paula Kipp}
tells {Defendant] Laubach that she did not consider Plaintiff a harm, that the event involving her
insulin medication was totally an accident, and Kipp did not have any weapons.” Id. Plaintiff
alleges that Defendant Laubach “ignored” Paula Kipp, and told her “that he was going to try for a
court ordered commitment of [Plaintiff] to a mental hospital.” Icz’.

The two versions of events leading up to the APOWWS offered by Plaintiff and Defendant
Laubach constitute key factual disputes calling for credibility determinations by the trier of fact.
Such credibility determinations are inappropriate at the summary judgment stage. See Turner v.
Baylor Richardson Med. Crr., 476 F.3d 337, 343 (Sth Cir. 2007) (“When assessing whether a
dispute to any material fact exists, we consider all of the evidence in the record but refrain from
making credibility determinations or weighing the evidence.” (citing Reaves v. Sanderson
Plumbr`ng Prods., Inc., 530 U.S. 133, l50 (2000)). Based on the factual disputes over the events
leading up to Plaintifi`s APOWWS on January 9, 2015, and July 28, 20l5, the Court cannot
determine as a matter of law (l) if probable cause existed for Defendant Laubach to seize Plaintiff
without a warrant pursuant to Texas Health & Safety Code § 573.001, and (2) whether Defendant
Laubach’s actions were objectively reasonable 'l`he Court is required to draw all inferences in the
light most favorable to Plaintiff. Applying this mandatory standard, the Court finds that there are
genuine issues of material fact regarding the first and third APOWWS that must be resolved before

Defendant Laubach’s entitlement.to qualified immunity can be determined as a matter of iaw.

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Thei‘efore, the Court denies Defendants’ Motion for Summary .iudgment as to Plaintiff`s claims
against Defendant Laubach.
IV. CONCLUSION

For the reasons stated above, Defendants Laubach and Cather’s Amended Motion for
Summary ludgment [ECF No. 881 is granted in part and denied in part. The Court grants
Defendants’ Motion as to Plaintift’ s Fourteenth Amendment claims. The Court grants Defendants’
Motion as to all claims against Defendant Cather. The Court finds that Plaintiff has raised genuine
factual disputes that must be resolved before Defendant Laubach’s defense of qualified immunity
can be determined as a matter of law. Therefore, the Court denies Defendants’ l\/lotions as to

Plaintiff`s claims against Defendant Laubach.l

SO ORDERED.

 

SIGNED November 14, 2018.

/tL/l»a§aa/`__,_~_~e

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 

‘ The decision to deny summary judgment should not be construed as precluding Defendant Laubach’s qualified
immunity defense This decision is based upon a dispute over the facts as opposed to any legal issue. lf the factual
disputes are not resolved before triai, the issue of Defendant Laubach’s qualified immunity defense is not waived but
may be submitted to a jury. Snyder v. Trepaginier, 142 F.3d 791, 799 (5th Cir. l998).

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